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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHRN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WINDY CITY LIMOUSINE COMPANY, LLC, a )
limited liability company,                )
                                          )
                       Plaintiff,         )
                                          )              Case No. 1:20-cv-4901
        v.                                )
                                          )
CINCINNATI FINANCIAL CORPORATION,         )
a corporation, THE CINCINNATI INSURANCE )                Hon. Andrea R. Wood
COMPANY, a stock insurance company,       )
THE CINCINNATI CASUALTY COMPANY,          )
a stock insurance company, THE CINCINNATI )
INDEMNITY COMPANY, a stock insurance      )
Company, and VALLEY COMPANIES, INC.,      )
a corporation,                            )
                                          )
                       Defendants.        )


                          DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Federal Rules of Civil Procedure 12(b)(5) and 12(b)(6), Defendants hereby

move the Court to dismiss plaintiff’s Complaint (ECF Doc. # 1-1) for ineffective service and,

additionally, for failure to state a claim upon which relief can be granted. A Memorandum in

Support of this Motion follows.



Dated: September 10, 2020                 Respectfully submitted,

                                          /s/ Michael P. Baniak____________

                                          Brian M. Reid
                                          Michael P. Baniak
                                          Litchfield Cavo, LLP
                                          303 W. Madison, Suite 300
                                          Chicago, IL 60606
                                          Tel.: (312) 781-6617 (Reid)
                                          Tel.: (312) 781-6596 (Baniak)
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                                  Fax.: (312) 781-6630
                                  Reid@LitchfieldCavo.com
                                  Baniak@LitchfieldCavo.com

                                  Attorneys for Defendants Cincinnati Financial
                                  Corporation, The Cincinnati Insurance Company,
                                  The Cincinnati Casualty Company, and The
                                  Cincinnati Indemnity Company
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                                        Certificate of Service

        I hereby certify that on September 10, 2020, I electronically filed the foregoing Motion to

Dismiss with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to all parties of record.


                                               /s/ Michael P. Baniak______________
